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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Peakspeed, Inc.,                                             Civ. No. 20-1630 (JRT/BRT)

                     Plaintiff,

v.                                                    ORDER DENYING
                                                  ATTORNEY FEES AND COSTS
Timothy Emerson,

                     Defendant.


       The Court ruled on Plaintiff’s Motion to Compel Production of Source Code on

October 15, 2020, granting in part and denying in part the motion. (Doc. No. 61.)

Specifically, the Court ordered counsel to meet and confer to attempt to agree on a

proposed amended Protective Order that addresses the handling of Source Code, to

submit their stipulated proposal to the Court, and required Defendant to produce the True

View source code within two business days of the Court’s entry of an amended protective

order. (Id.) The Court deferred ruling on Plaintiff’s motion for attorney fees and costs.

(Id.; see Doc. No. 55, Pl.’s Proposed Ord.) An Amended Protective Order issued on

October 19, 2020. (Doc. No. 64.)

       Based on the file, record, and proceedings herein, IT IS HEREBY ORDERED

that Plaintiff’s motion for attorney fees and costs (Doc. Nos. 50, 55) is DENIED.



Dated: December 30, 2020                          s/ Becky R. Thorson
                                                  BECKY R. THORSON
                                                  United States Magistrate Judge
